                         Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 1 of 7
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  1511      Hon. Analisa Torres
            United States District Judge
            April 8, 2021
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            BY ECF

            Hon. Analisa Torres
            United States District Judge
            Southern District of New York
            500 Pearl Street
            New York, New York 10007

                      Re: United States v. Stephen Bannon, 20 Cr. 412 (AT)

            Dear Judge Torres,

                      Stephen Bannon submits this reply to the Government’s letter opposition to

            Bannon’s Motion to Dismiss the Indictment as it pertains to him, as a result of the Full and

            Unconditional Pardon granted by then President Donald J. Trump.



                      In what can only be described as a tepid opposition to Bannon’s request that this

            Court enter an order dismissing the Indictment, the Government states that it prefers that

            the case be “administratively terminated” without ever saying why that procedure is

            preferable or appropriate for an individual who has received an unconditional pardon.

            Obviously, the Government draws a distinction between an administrative termination and

            a dismissal, but never states what they believe that distinction to be. Apparently

            recognizing the weakness of their position, in a three paragraph opposition, the
         Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 2 of 7
DAVIDOFF HUTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 2

Government twice notes that: “if the Court is inclined to dismiss the Indictment as to

Bannon, the Government respectfully submits that any order of dismissal should conform

to the language and scope of the pardon.” This request is found in the last sentence of

the first and the third paragraphs of the Government’s letter.



       There is no explanation provided as to what the Government means by requesting

that the dismissal “should conform to the language and scope of the pardon.” In this reply,

we will offer what we believe they intended in those two sentences.



       First, we need to discuss some of the affirmative statements made by the

Government that might be misinterpreted. While we agree, as the Government notes, that

Courts have not acted uniformly in dismissing indictments following pardons, there is only

one exception to the rule that the appropriate procedure involved with an unconditional

pardon is to dismiss the indictment. We refer to United States v. Urlacher, 20-Cr.-111-8

(N.D. Ill. 2021) which we brought to the Court’s attention in our opening brief.



       The Government cites two cases, neither in this District, or in the Second Circuit,

and therefore not controlling, where the indictments were administratively terminated.

One of those cases, United States v. Urlacher, we cited in our opening brief as an

exception to the general rule that dismissal is the proper procedure following an

unconditional pardon. Urlacher was the exception because the decision to terminate the

case administratively was made by the Court alone with no input from the Government or
         Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 3 of 7
DAVIDOFF HUTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 3

defense counsel. In addition to that case, the Government cites an older case involving a

pardon granted by then President Barack Obama, in connection with the Iranian Nuclear

Arms Treaty negotiations in 2016. United States v. Golestaneh, 13-Cr.-00160 (D. Vt.,

Dec. 4, 2016). As shown below, that case does not support the Government’s preference

because it deals with a conditional pardon which might require future activity in the case

should the conditions be violated.



      In the Golestaneh case, the defendant entered into a plea agreement and pled

guilty in December of 2015. Before the defendant could be sentenced, then President

Obama granted him executive clemency with conditions. The fact that there were

conditions attached to the grant of clemency is significant, since it means that if the

conditions were not fulfilled, then the pardon would be voided, and the defendant would

be sentenced. The pardon specifically stated that if the conditions were violated “the

Pardon may be voided in its entirety.” (Golestaneh pardon, Exhibit 1). The conditions

attached to the Pardon mandated that the Indictment be administratively terminated, and

therefore preserved, because in the event the conditions were not fulfilled, the case would

be revived and the defendant would be sentenced. An administrative termination, or more

accurately a stay, is precisely the “appropriate course”, as Judge Sullivan phrased it in

United States v. Flynn, 2020 WL 7230702 (D.D.C. 2020), for when an administrative

termination should be utilized rather than an outright dismissal because further

proceedings were possible. That is not the case for Stephen Bannon, as there were no

conditions attached to his pardon. Lastly, the Docket sheet for Golenstaneh simply notes
         Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 4 of 7
DAVIDOFF HUTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 4

“Terminated: 01/19/2016” next to the defendant’s name. The disposition next to each

offense notes only “a full pardon granted.” There is no entry on the docket sheet after

entry 42, which simply notes the “Executive Grant of Clemency.” There is no indication

that the Government or defense counsel consented to or even requested the

administrative termination.



       Simply put, the Golenstaneh case does not support the Government’s tepid

opposition to the dismissal of the indictment, rather it supports the use of an administrative

termination when the pardon contains conditions that if violated would render the pardon

null and void and would require further proceedings under that indictment. Such is not the

case here with Stephen Bannon who has received an unconditional pardon. Using the

Government’s twice repeated request that this Court fashion its relief consistent with the

wording of the pardon, since there are no conditions attached to this pardon, it is final. As

such, the finality of dismissing the underlying indictment as to Stephen Bannon is

consistent with the wording of the pardon which is unconditional and final.



       Two other points raised by the Government are worth discussing. The Government

makes a claim that “in many of the cases” cited by Bannon, the order of dismissal has

been entered with the consent of the Government. First, we note the use of the word

many rather than all and second, while noting that in the vast majority of the cases the

Government has consented, this United States Attorney’s office fails to offer a single

reason why they have not consented. The Government also claims that the consent was
          Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 5 of 7
DAVIDOFF HUTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 5

given in cases involving single defendants. There is no explanation offered by the

Government as to why the number of defendants should affect the decision to dismiss

the individual who has been pardoned. More importantly, the Government is ignoring the

Zangrillo case, formally titled as United States v. Colburn et al., 19-Cr.-10080 (D.Mass.

2021), cited in our initial memorandum of law, where the pardon applied to one defendant-

Zangrillo- out of nineteen defendants named in the indictment. Following the pardon, the

indictment as to Mr. Zangrillo was dismissed.



       The last point from the Government’s opposition that should be addressed is the

claim that Bannon “neither cites to any controlling authority requiring such a dismissal,

nor does he indicate why simply terminating him from the case would be insufficient.” In

fact, we have cited to authority that demonstrates that an administrative termination would

not be the “appropriate course” where, as here, you have an individual with an

unconditional pardon which is a final determination and an administrative termination is

not a termination at all, it is legally the equivalent of a stay.



       By “controlling authority” the Government is limiting the search to the Second

Circuit and U.S. Supreme Court cases which would of course be binding on this Court.

Such an approach, while literally accurate, allows the Government to ignore the fact that

the Third Circuit seems to be the only Circuit Court to address the legal definition and

effect of an “Administrative Termination”.
         Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 6 of 7
DAVIDOFF HUTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 6

       The Government’s statement that Bannon failed to “indicate why simply

terminating him from the case would be insufficient” is factually incorrect. In our opening

brief we stated that:


              “An ‘Administrative termination’ which is proposed by the
              Government is inadequate, as it suggests a temporary
              suspension that might be revived in the future. There is no
              future prosecution under this indictment with a pardon, Mr.
              Bannon will never be tried in this Court on the charges
              contained in this Indictment.” (Bannon Memo., p.4).


       The cases previously cited by us from the Third Circuit establish that an

“Administrative Termination” is not a termination at all. Rather an “Administrative

Termination” is more correctly referred to as a stay of the indictment, removing it from the

active docket and presupposing additional activity in the future. Such a disposition would

be the “appropriate course” in the case of a fugitive and in the pardon context, it would

be the “appropriate course” when you have a conditional pardon that could be rendered

null and void if the conditions set forth in the pardon are violated, such as in the

Golenstaneh case. In the Bannon case, the pardon received was final because it was

unconditional, and therefore the disposition of the Indictment “should conform to the

language and scope of the pardon”, as the Government has requested, and the

appropriate disposition should be final by dismissing the Indictment solely as to Stephen

Bannon, which is consistent with the six cases cited in our main brief, each one of which
          Case 1:20-cr-00412-AT Document 107 Filed 04/08/21 Page 7 of 7
DAVIDOFF HLJTCHER & CITRON LLP
Hon. Analisa Torres
United States District Judge
April 8, 2021
Page 7

involved an unconditional pardon followed by the dismissal of the indictment. 1 Only the

Urlacher case, noted in our initial memorandum as an exception to the rule, failed to

dismiss the indictment and terminated the case with no input from the Government or

defense counsel.

        It is respectfully urged that when you have an unconditional pardon, as is the case

here, the appropriate disposition is to dismiss the underlying indictment as to the

individual pardoned.


                                                        Respectfully submitted


                                                        /s/ Robert J. Costello (8301)
                                                        Counsel for Stephen Bannon

RJC

cc: AUSA Nicolas Roos




1United States v. Michael Flynn, 2020 WL 7230702 (D.D.C. 2020); United States v. Schaffer, 240 F.3d 35
(D.C. Cir. 2001); United States v. Arpaio, 16-Cr.-01012, (D. Az. 2017); United States v. Carter, 20-Cr.-
20222 (S.D. Fla. 2021); United States v. Colburn et al., 19-Cr.- 10080 (D. Mass. 2021); United States v.
Kurson, 20-MJ-990, (E.D.N.Y. 2021)
